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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 . R,THERN DIVISION




The Acting United States Attorney charges:

                                           COUNTl
                              (False Statement to a Federal Agency)

       On or about August 7, 2017, in Montgomery County, within the Middle District of

Alabama, the defendant,

                                      XIAOMING ZHANG,

did knowingly and willfully make a materially false, fictitious, or fraudulent statement or

representation in a matter within the jurisdiction of the executive branch of the Government of the

United States, to wit: the Office of Personnel Management and the Department of Defense, in

violation of Title 18, United States Code, Section 1001 (a)(2).



                                                      SANDRA J. STEWART
                                                      ACTING UNITED STA TES ATTORNEY



                                                      Brett J. Talley
                                                      Assistant United States Attorney
